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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                           Case No. 1:15cr4-MW/GRJ-4

NICK WILLIAM MONRABAL,

     Defendant.
________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 65, to which there has been no timely objection, and subject to this

Court’s consideration of the plea agreement pursuant to Fed.R.Crim.P. 11(e)(2),

the plea of guilty of the Defendant to Count One of the Indictment against him is

hereby ACCEPTED. All parties shall appear before this court for sentencing as

directed.

      SO ORDERED on April 29, 2015.

                                            s/Mark E. Walker
                                            United States District Judge
